§§ Case 2:03-CV-02569-BBD-tmp Document 346 Filed 05/31/05 Page 1 of 3 Page|D 345

 

UNITED sTATES DISTRICT COURT §“"'D *”$// ----D-*`»=
FOR THE WESTERN DISTRICT 0F TENNESSEEG¢. Wi, 3 _ _
WESTERN DIVISION '3 ' ~ l FH i~ 514
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B()BB[E J_ CARR, =e W. L`) C,'a-- T:'-J, F-»»"@E.’\,EF"HIS
k
Plaintiff, ~1=
* N0. 03-2569-Ma/P
v. *
‘k
HOME TECH SERVICES CO., INC., ET AL., *
1\‘
Defendants. *
'»\'

 

ORDER GRANTING PLAINTIFFS’ MOTION FOR AN EXTENSION OF
TIME T0 RESPOND T0 DISCOVERY REQUESTS REFERENCED IN THE CoURT’S
MAY 23, 2005 ORDER

 

Upon the motion by Plaintiffs’ Motion for an Extension of Time until June 13, 2005 , to

Respond to Discovery Requests referenced in the Court’s Order dated May 23, 2005, the

Plaintiffs’ Motion for Extension of Time is GRANM

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

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with Hu!e 53 and/or 1'9(3) FHCP on___Ll_'é

 

 

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Honorable Bernice Donald
US DISTRICT COURT

